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                                                                             f(SPACE BELOW FOR FILING STAMP ONLY)

 1       ROGER D. WILSON SBN: 192207
        LAW OFFICE OF ROGER D. WILSON
 2               2377 West Shaw Avenue, Suite 208
                      Fresno, California 93711
 3                  Telephone: (559) 233-4100
                     Facsimile: (559) 746-7200
                   Email: roger@wilson-law.com
 4

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 6   Attorney for Defendant, ALI MOSARAH

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 9                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                          Case No.: 1:13-CR-00103-AWI-BAM
12
                      Plaintiff,
13                                                      WAIVER OF APPEARANCE; ORDER
            v.
14

15   ALI MOSARAH,

16                    Defendant.

17

18          TO THE UNITED STATES DISTRICT COURT; UNITED STATES

19          ATTORNEY’S OFFICE, BY AND THROUGH ITS REPRESENTATIVES:

20          Defendant ALI MOSARAH by and through his attorney, ROGER D. WILSON, hereby

21   applies to this Court for an Order waiving his appearance at the Status Conference currently

22   scheduled for January 26, 2015, at 1:00 p.m., before the Honorable Magistrate Judge Barbara

23   A. McAuliffe. This request is made because at the next hearing, the codefendant, Senna

24   Hweith, will be represented by new counsel. Consequently, her new counsel will undoubtedly

25   request sufficient time to review the many compact discs of discovery related to this case.

26   Therefore, a further status hearing will be scheduled at the next hearing.

27          Further, Mr. Mosarah who is gainfully employed will be forced to miss a day of work to

28   attend a hearing where, in all likelihood, a further status hearing date will be scheduled. Mr.
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 1   Mosarah has maintained regular and routine contact with his counsel, and gives his counsel full

 2   authority to act on his behalf at the next hearing. Mr. Mosarah maintains contact with his

 3   attorney, and has discussed the upcoming Status Conference with counsel and is satisfied that

 4   all relevant matters have been adequately reviewed and explained.

 5            Lastly, Mosarah’s counsel discussed this waiver of appearance with counsel for the

 6   Government, who had no objection.

 7            It is hereby requested that Defendant ALI MOSARAH’S appearance at the March 10,

 8   2014, Status Conference be excused.

 9            Respectfully submitted,
10   Dated:       January 22, 2015         By:                  /s/ Roger D. Wilson
11                                                            ROGER D. WILSON
                                                      Attorney for Defendant ALI MOSARAH
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15                                               ORDER
16            Defendant ALI MOSARAH’S request for a waiver of appearance came before this
17   Court and based thereon, and for GOOD CAUSE shown, the COURT ORDERS AS
18   FOLLOWS:
19            Defendant ALI MOSARAH is hereby excused from appearing at the Status Conference
20   currently scheduled for January 26, 2015, at 1:00 p.m. As this request was received after the
21   Court’s deadline, Counsel is ADMONISHED against any further delayed requests to the Court.
22   IT IS SO ORDERED.

23      Dated:      January 23, 2015                          /s/ Barbara A. McAuliffe               _
24                                                     UNITED STATES MAGISTRATE JUDGE

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